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UNITED STATES DISTRICT COURT                                                   t::,-··i r;· ,· ·,1\. ,.--.. '\ r 1 v pn en
SOUTHERN DISTRICT OF NEW YORK
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                                                                             DATE nlµ):                     __   9-3>-c f   .
CITY OF NEW YORK,

                                                             Plaintiff,
                                                                            Case No. 18-cv-182-JFK
                              -against-
                                                                            -ff ROF QfiKllJ ORDER
BP P.L.C.; CHEVRON CORPORATION;                                             GRANTING MOTION TO
CONOCOPHILLIPS; EXXON MOBIL CORPORATION;                                    WITHDRAW
and ROY AL DUTCH SHELL PLC,

                                                         Defendants.

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                [PROPOSED] ORDER GRANTING MOTION TO WITHDRAW


         The Court has reviewed the motion of Attorney Emerson Hilton to withdraw as counsel

for Plaintiff City of New York in the above-captioned matter, together with the supporting

affidavit provided by Mr. Hilton pursuant to Local Civil Rule 1.4. Finding that satisfactory

reasons have been provided for Mr. Hilton's withdrawal, the motion is GRANTED. The clerk is

directed to terminate Mr. Hilton's appearance on the docket of this case with immediate effect,

and to remove Mr. Hilton from all applicable service lists, including notices of electronic filing.



SO ORDERED.



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Dated:   ~U-L ;
                                                              U.S. District Judge
